           Case 3:13-cr-00127-JLS                      Document 150                 Filed 05/23/13              PageID.423              Page 1 of 2



      ~AO 24SB (CASD) (Rev. 12/11) Judgment in a Criminal Case
                Sheet 1



                                                                                                                                               AH 9: 24
                                               UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRI~NAL CASE                                      ~
                                         v.                                         (For Offenses Committed On or After November I, 1987) DEPtH Y

             VICTOR MANUEL ALTAMIRANO-LOPEZ (3)                                     Case Number: 13CR0127-JLS

                                                                                                  Jack J. Boltax, CJA appointment
                                                                                    Defendant's Attorney
     REGISTRATION NO. 35926298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) ONE OF THE SUPERSEDING INFORMAnON

     o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s);
                                                                                                                                              Count
     Title & Section                          Nature of Offense                                                                             Number(s)
8 USC 1324(a)(1)(A)(i) &               BRINGING IN ILLEGAL ALIENS AND AIDING AND ABETTING                                                   1
(v)(II)




         The defendant is sentenced as provided in pages 2 through _ _.; ; ;2_ _ o f this judgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.
  o The defendant has been found not guilty on count(s) ---------------------------------
  181 Count(s) (UNDERLYING INFORMATION)                                               is   181   areD dismissed on the motion of the United States.
  181 Assessment: $100.00 IMPOSED

  181 Fine waived                                    o Forfeiture pursuant to order filed ------------- , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
  defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                                MAY 17,2013




                                                                               UNITED STATES DISTRICT JUDGE

                                                                                                                                                  13CROI27-JLS
      Case 3:13-cr-00127-JLS                      Document 150          Filed 05/23/13      PageID.424           Page 2 of 2


AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 2   Imprisonment
                                                                                            Judgment   Page _..;;.2_ of       2
 DEFENDANT: VICTOR MANUEL ALTAMIRANO-LOPEZ (3)
 CASE NUMBER: 13CR0127-JLS
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         EIGHTEEN (18) MONTHS



    D Sentence imposed pursuant to Title 8 USC Section I 326(b).
    I8l The court makes the following recommendations to the Bureau of Prisons:
          WESTERN REGION OF THE UNITED STATES




     D The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
         Dat _______________ Da.m. Dp.m. on _ _ _ _ _ _ _ _ _ _ _ __
                as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before -------------------------------------------------------------
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.

                                                             RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          Ul' !TED STATES MARSHAL


                                                                   By _______~~~~==~~~~~----------
                                                                                       DEPUTY Ul'ITED STATES MARSHAL




                                                                                                                     13CR0127-JLS
